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EXHIBIT “E”

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EXHIBIT “E”

ABN Amro

101 California Street, Suite 4300

San Francisco, CA 94111

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Abu Dhabi International Bank

1020 19th St NW # 500

Washington. DC 20036

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Asian Development Bank

815 Connecticut Ave NW # 325
Washington, DC 20006

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

AUSTRIAN NATIONAL BANK

745 5™ Ave. Suite 2005

New York, New York 10151

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Bank of Tokyo Mitsubishi-UFJ

Suite 350

1909 K St NW,

Washington. DC 20006

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Bank of Tokyo Mitsubishi-UFJ

400 California Street

San Francisco, CA 94104

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Bank of Tokyo Mitsubishi UFJ

777 South Figueroa Street #600

Los Angeles, CA 90017

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

BNP Paribas

One Front Street

San Francisco. CA 94111

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

BNP Paribas

725 Figueroa Street, Suite 2090

Los Angeles, CA 90017

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Commercial Bank of Kuwait

1120 Avenue of the Americas

New York, New York 10036

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Commerzbank

633 West Fifth Street, Suite 6600

Los Angeles, CA 90071

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Commerzbank AG

2 World Financial Center

New York. New York 10281

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Credit Suisse Group

1201 F St NW # 450

Washington, DC 20004

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Credit Suisse AG

1801 Avenue of the Starts, Suite 311
Los Angeles. CA 90067

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS
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CALYON [BANK] fka CREDIT
LYONNAIS and FKA CREDIT
AGRICOLE

515 South Flower Street. Suite 2200
Los Angeles, CA 90071

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

CALYON [BANK] fka CREDIT
LYONNAIS and FKA CREDIT
AGRICOLE

1301 Avenue of the Americas

New York. New York 10019

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

CALYON [BANK] fka CREDIT
LYONNAIS and FKA CREDIT
AGRICOLE care of

CT CORPORATION SYSTEM
818 West 7™ Street

Los Angeles, California 90017

Credit Suisse AG

2121 Avenue of the Stars

Los Angeles. CA 90067

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Credit Suisse AG

1201 F St NW #450

Washington, DC 20004

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Deutsche Bank

300 South Grand Ave.

Los Angeles, CA 90071

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Deutsche Bank AG

1399 New York Ave NW # 500
Washington. DC 20005

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Deutsche Bank AG

101 California Street

San Francisco. California 94111
Attn: PRESIDEN TOR AGENT FOR
SERVICE OF PROCESS

Development Bank of Japan

1101 17th St NW # 1001
Washington, DC 20036

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

DZ BANK

609 5" Avenue. Suite 601

New York, New York 10017

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Export Import Bank of Korea

1300 L St NW # 825

Washington, DC 20005

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Export Import Bank of Korea

460 Park Avenue.

New York. New York 10022

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Export Import Bank of India

1750 Pennsylvania Ave NW
Washington, DC 20006

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS
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Industrial Bank

4812 Georgia Ave NW

Washington, DC 20011

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

International Monetary Fund

700 19th St NW

Washington. DC 20431

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

International Finance Corporation
2121 Pennsylvania Ave NW
Washington, DC 20433

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

INTERNATIONAL BANK FOR
RECONSTRUCTION AND
DEVELOPMENT (aka THE WOLRD
BANK)

1818 H St NW

Washington. DC 20433

Attn: PRESIDENT OR AGENT FOR

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Natexis Banques Populaires

1901 Avenue of the Stars. Suite 1901
Los Angeles, CA 90067

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Natexis Banques Populaires

1251 - 6" Avenue

New York, NY 10020

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

NATIONAL BANK OF PAKISTAN

100 Wall Street

New York. New York 10005 Attn:
PRESIDENT OR AGENT FOR SERVICE
OF PROCESS

Attn: LEGAL PROCESSING DEPT.

Rabobank International

1825 | St NW # 400

Washington. DC 20006

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

SERVICE OF PROCESS Raiffeisen Zentral Bank
1133 Avenue of the Americas
Japan Bank for International Cooperation New York, NY 10036
1909 K St NW # 300 Attn: PRESIDENT OR AGENT FOR

Washington. DC 20006
Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Mitsubishi Trust and Banking

520 Madison Ave., Suite 2501

New York, New York 10022

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Mizuho Corporate Bank ( Japan )

350 South Grand Avenue.. Suite 1500
Los Angeles, CA 90017

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

SERVICE OF PROCESS.

Societe Generale

1221 Avenue of the Americas

New York. NY 10020

Atin: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

State Bank of India

200! Pennsylvania Ave NW # 625
Washington, DC 20006

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS
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Sumitomo Mitsui Banking Corporation
555 California Street. Suite 3350

San Francisco, CA 94104

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

Sumitomo Mitsui Banking Corporation
777 South Figueroa. Suite 2600

Los Angeles. CA 90017

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

UBS AG

101 California Street. Suite 2770

San Francisco. CA 94111

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

UBS AG

633 West Fifth Street

Los Angeles, CA 90017

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

UBS AG

1501 K StNW

Washington. DC 20005

(202) 585-4000

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

F:\USERS\DJCNEW\PETERSON. banksa
